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                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA
                                 PHILADELPHIA DIVISION

 CHANEL BAKER,

             Plaintiff,

                                                    CASE NO.:
 V.
                                                                          18          1393
 SLM CORPORATION d/b/a SALLIE MAE
 BANK,

             Defendant.


                          COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW, Plaintiff, CHANEL BAKER, by and through the undersigned counsel,

and sues Defendant, SLM CORPORATION d/b/a SALLIE MAE BANK, and in support thereof

respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.

("TCPA").

                                         INTRODUCTION

        1.         The TCP A was enacted to prevent companies like Defendant from invading

American citizen's privacy and to prevent abusive "robo-calls."

        2.         "The TCP A is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls." Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

        3.         "Senator Hollings, the TCPA's sponsor, described these calls as 'the scourge of

modem civilization, they wake us up in the morning; they interrupt our dinner at night; they

force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

wall." 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone
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subscribers another option: telling the auto-dialers to simply stop calling." Osorio v. State Farm

Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

        4.      According to the Federal Communications Commission (FCC), "Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers

Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,

(May 27, 2015), https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676Al .pdf.

                                  JURISDICTION AND VENUE


         5.    Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

         6.    Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 4 7 U.S.C. § 227(b)(1 )(A)( iii). See

Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11th Cir. 2014).

       7.      The alleged violations described herein occurred in Philadelphia County,

Pennsylvania. Accordingly, venue is appropriate with this Court under 28 U.S.C. §139l(b)(2), as

it is the judicial district in which a substantial part of the events or omissions giving rise to this

action occurred.

                                  FACTUAL ALLEGATIONS



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        8.         Plaintiff is a natural person, and citizen of the State of Pennsylvania, residing in

Philadelphia County, Pennsylvania.

        9.      Plaintiff is the "called party." See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11 1h Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11 1h Cir. 2014).

        10.     Defendant is a corporation with its principal place of business located at 300

Continental Drive, Newark, Delaware, 19713.

        11.     Defendant called Plaintiff five hundred (500) times in an attempt to collect an

alleged debt.

        12.     Defendant attempted to collect an alleged debt from Plaintiff by this campaign of

telephone calls.

        13.     Plaintiff is the subscriber, regular user and earner of the cellular telephone

number (267) ***-6092 and was the called party and recipient of Defendant's calls.

        14.     Upon receipt of the calls from Defendant, Plaintiff's caller ID identified the calls

were being initiated from, but not limited to, the following phone numbers: (877) 604-8834 and

(877) 324-8854.

       15.      Upon information and belief, some or all of the calls Defendant made to

Plaintiffs cellular telephone number were made using an "automatic telephone dialing system"

which has the capacity to store or produce telephone numbers to be called, using a random or

sequential number generator (including but not limited to a predictive dialer) or an artificial or

prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(l) (hereinafter

"auto-dialer calls"). Plaintiff will testify that she knew it was an auto-dialer because of the vast

number of calls she received and because she heard a pause when she answered her telephone




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before an agent/representative of Defendant came on the line and she received prerecorded

messages from Defendant.

         16.     On several occasions over the last four (4) years, Plaintiff instructed Defendant's

agents/representatives to stop calling her cellular telephone.

         17.     In or about October 2016, Plaintiff answered a call from Defendant and spoke

with an agent/representative of Defendant and demanded that the calls to her cellular telephone

stop.

        18.      Despite knowledge of their wrongdoing, Defendant continued the campaign of

abuse, calling Plaintiff despite Plaintiff revoking any express consent Defendant may have

believed they had to call Plaintiffs cellular telephone.

        19.      In or about December 2016, Plaintiff spoke with an agent/representative of

Defendant and again demanded that the calls to her cellular telephone stop.

        20.      All of Plaintiffs demands for the harassing telephone calls to her cellular

telephone to end were ignored.

        21.      Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to individuals just as they did to Plaintiffs cellular telephone in

this case.

        22.      Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice, just as they did to the Plaintiffs cellular telephone in this case,

with no way for the consumer, or Defendant to remove the number.

        23.      Defendant's corporate policy is structured so as to continue to call individuals like

Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.




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        24.     Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this Complaint.

        25.    Defendant has numerous complaints against it across the country asserting that its

automatic telephone dialing system continues to call despite being requested to stop.

        26.    Defendant has had numerous complaints against it from consumers across the

country asking to not be called, however Defendant continues to call these individuals.

        27.    Defendant's corporate policy provided no means for Plaintiff to have Plaintiffs

number removed from Defendant's call list.

       28.     Defendant has a corporate policy to harass and abuse individuals despite actual

knowledge the called parties do not wish to be called.

       29.     Not one of Defendant's telephone calls placed to Plaintiff was for "emergency

purposes" as specified in 47 U.S.C. § 227(b)(l)(A).

       30.     Defendant willfully and knowingly violated the TCPA with respect to Plaintiff.

       31.     From each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion

upon her right of seclusion.

       32.     From each and every call without express consent placed by Defendant to

Plaintiffs cellular telephone, Plaintiff suffered the injury of the occupation of her cellular

telephone line and cellular telephone by unwelcome calls, making the telephone unavailable for

legitimate callers or outgoing calls while the telephone was ringing from Defendant's call.

       33.     From each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of her time.

For calls she answered, the time she spent on the call was unnecessary as she repeatedly asked


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 for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the

telephone and deal with missed call notifications and call logs that reflect the unwanted calls.

This also impaired the usefulness of these features of Plaintiffs cellular telephone, which are

designed to inform the user of important missed communications.

        34.    Each and every call placed without express consent by Defendant to Plaintiffs

cellular telephone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls

that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for

unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed call

notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of

these features of Plaintiffs cellular telephone, which are designed to inform the user of

important missed communications.

       35.     Each and every call placed without express consent by Defendant to Plaintiffs

cellular telephone resulted in the injury of unnecessary expenditure of Plaintiffs cellular

telephone's battery power.

       36.     Each and every call placed without express consent by Defendant to Plaintiffs

cellular telephone where a voice message was left which occupied space in Plaintiffs telephone

or network.

       37.     Each and every call placed without express consent by Defendant to Plaintiffs

cellular telephone resulted in the injury of a trespass to Plaintiffs chattel, namely her cellular

telephone and her cellular telephone services.

       38.     As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affect in a personal and individualized way by stress, anxiety, distress,

aggravation and depression.


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                                            COUNT I
                                     (Violation of the TCPA)

        39.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through thirty eight

(38) as if fully set forth herein.

        40.     Defendant willfully violated the TCPA with respect to Plaintiff, specifically for

each of the auto-dialer calls made to Plaintiff's cellular telephone after Plaintiff notified

Defendant that Plaintiff wished for the calls to stop

        41.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff's cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff's prior express consent in violation of federal law. including 47 U.S.C §

227(b)( 1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, treble

damages, enjoinder from further violations of these parts and any other such relief the court may

deem just and proper.

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